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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Oscac Rodriguez, : Motion for Reduction of Sentence
Petitioner : Pursuant to Section 603 of the
: First Step Act of 2018 and
-V~ : 18 U.S.C. §3582(c)(1)(A).
United States of America, : Docket No.: 1:536 10-CR-905-046 (DEW)
Respondent. :

 

MOTION FOR REDUCTION OF SENTENCE PURSUANT TO SECTION 603 OF THE
FIRST STEP ACT OF 2018 AND 18 U.S.C. §3582(c)(1)(A)

Comes now, Oscar Rodriguez, hereinafter, Petitioner, Pro-Se, pursuant to Title 18,
United States Code §3582(c)(1)(A) and Section 603 of the First Step Act of 2018
("FSA"), to move this Court to reduce the sentence imposed in the above-mentioned
action. Petitioner respectfully submits this Motion in Support of a Sentence
Reduction and Memorandum in Support of Motion for a Sentence Reduction consistent

with the FSA.

Overview

On October 14, 2010, Petitioner was arrested and charged with various narcotic
related offenses. After a jury trial, Petitioner was convicted of two counts,
which also contained forfeiture allegations.

The counts of the conviction were as follows:

Count 1 (Rico Conspiracy), in violation of Title 18 U.S.c. §§1962(d) and 1963.

Count 2 (Conspiracy to Distribute Marijuana), in violations of Title 21 U.S.C.
§§ 846, 841(b)(1)(A).

Count 1 charges that from 1996 to 2012, in the Southern District of New York
and elsewhere, Oscar Rodriguez, A/K/A "Elias Rodriguez'' A/K/A "Chang A/K/A "'Chan'}

and others, conspired to violate the racketeering laws outlined in 18 U.S.C.

 
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1962(c), and conducted and participated, directly and indirectly, in the conduct
and affairs of the Rodriguez Organization (the "Enterprise"™), which was engaged
in, and the activities of which affected, interstate and foreign commerce, through
a pattern of racketeering activity involving narcotics trafficking, which is |
chargeable under New York Penal Law Sections 20.00, 105.15, 110.00, 220.06,
220.31, and 220.39, and in violation of 21 U.S.C. 812, 841, 843, and 846; murder,
which is chargeable under New York Penal Law sections 20.00, 105.15, 110.00, and
125.25, and New jersey statutes 2C:11-3, 2c:2-6(b)(4), and 2C:2-6)c_; money
laundering and money laundering conspiracy, in violation of 18 U.S.C. 1956 and
1957; travel in interstate and foreign commerce in aid of racketeering, in
violation of 18 U.S.C. 1952; and obstruction of justice, in violation of 18 U.S.C.
1512. it was a part of the conspiracy that the defendant agreed that a conspirator
would commit at least two acts of racketeering in the conduct of the affairs of
the Enterprise. |

(18 U.S.C. 1962(d))

Count 2 charges that from 1996 to 2010, in the Southern District of New York
and elsewhere, Oscar Rodriguez and others conspired to distribute and possess with
intent to distribute 1,000 kilograms or more of marijuana, in violation of 21
U.S.C. 812, 841(a)(1), and 841(b)(1)(A).

(21 U.S.C. 846)

On November 3rd, 2014, Petitioner was sentenced by Hon. Donald E. Walter,
which found him guilty on Counts 1ss, 2ss, after a plea of not guilty. Count(s) 2,
2s, 3s, remaining count(s) of the indictment were dismissed on the motion of the
United States. Petitioner was given a total term of two hundred forty (240) months
imprisonment, as to Count One and Count Two, to run concurrently. Also, Petitioner

was given a Supervised Release term of five years as to Count One and to Count

Two, to run concurrently.

 

 
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Petitioner was also given a Special Assessment of $200.00. The judgment was
entered on November 5th, 2014.
At Petitioners sentencing the following colloquy occurred:
THE COURT: I understand. I hav2 considered all of the factors
under 3553, the comments of your family and friends. Needless, I
can find no reason to depart below the guidelines. I am going to
stay within the guidelines, and you are sentenced to the custody
of the Bureau of Prisons for a term of 216 months.
MS. ELY: Your Honor, there's a 20-year mandatory minimum
sentence here, 240 months imprisonment.
THE COURT: Is there?
MS. ELY: A prior felony information was filed.
THE COURT: You're correct. So I got to go to the mandatory, Ms.
Birger.
MS. BIRGER: You do, Your Honor. There's a guidelines range that
spans the range, and I'm suggesting to Your Honor that there is
no reason to go a day over the mandatory minimum.
THE COURT: I won't, obviously. So strike that. 240 months. 20

years. There it is, it's Congress, not me...
3 3

(Sent. Tr. dated Nov. 3rd, 2014, at 13-14)
The Prior Felony Information which triggered the 20 year mandatory minimum
sentence was filed on march 5th, 2012, (DOC. #717), and charged the following:
On or about September 30, 1997, in New York County Supreme Court, New York,
New York, Oscar Rodriguez, A/K/A "Chang') A/K/A "Chan the defendant, was
convicted, upon a plea of guilty, of Attempted Criminal Sale of A Controlled

Substance: third Degree, a class C felony, in violation of New York Penal Law

 
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Section 220.39, for which he recieved a sentence of one to three years"
imprisonment. Accordingly, Rodriguez is subject to the enhanced penalties of Title
21, United States Code, Sections 812, 841, and 846.

(Title 21, United States Code, Section 851).

At sentencing, the Judge had no discretion to go below the mandatory minimum
of 20 years’ incarceration and 5 years of Supervised Release. In fact, initially,
Hon. Walter found and imposed a sentence of 216 months imprisonment, a sentence
Hon. Walter believed was sufficient but not greater than necessary to achieve the
goals of sentencing and justice.

When Hon. Walter was informed that the prior felony information triggered the
mandatory minimum of 20 years, which is 36 months (3 years) greater than the 216
months imposed, he was asked, and chose, not to impose a single day above the
mandatory minimum. (Sent. Tr. 14).

In fact, Hon. Walter expressed his displeasure with the mandatory minimum he
was obligated to impose, and stated on record that "there it. is, it's Congress,
not me.” (Sent. Tr. 14), also "to run concurrently. No point in burying him."
(Sent. Tr. 15).

The First Step Act (‘formerly Incarcerated Reenter Society Transformed Safely
Transitioning Every Person Act")("FSA") was signed into law by President Trump on
December 21, 2018. | |

The FSA deals mostly with reentry of the incarcerated, and as pertinent here,
reduces certain enhanced mandatory minimum penalties for some drug offenders
(Section 401).

Specifically, the FSA reduced the statutory penalty of 21 U.S.C. §841(b)(1)(A)
which is enhanced under 21 U.S.C. §851, as follows:

21 U.S.C. §841(b) (1) (A)

 
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Statutory Penalty: 10 years mandatory minimum
| Enhanced Penalty BEFORE FIRST STEP ACT: 20-year mandatory minimum (after one

prior conviction for a felony drug offense). .

Enhanced Penalty AFTER FIRST STEP ACI: 15-year mandatory minimum (after one

prior conviction for a serious drug felony or serious violent felony).

Under the FSA, a prior conviction for a felony drug offense no longer
qualifies for the enhanced penalties of §851.

The FSA removed "prior conviction for a felony drug offense" and replaced it
with the more serious and stringent "serious drug felony" offense(s).

A "Serious Drug Felony" is defined as follows:

An offense prohibited by 18 U.S.C. 924(e)(2)(A) for which the defendant served
a term of imprisonment of more than 12 months and was released from any term of
imprisonment within 15 years of the instant offense. Section 924(e)(2)(A) defines
"Serious Drug Felony’ as an offense under the Controlled Substances Act (21 U.S.C.
801 et seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
seq.), Chapter 705 of Title 46 (Maritime Law Enforcement) or under state Law,
involving manufacturing, distributing, or possessing with intent to distribute, a
controlled substance (as defined in Section 102 of the Controlled Substances Act
(21 U.S.C. 802)), for which a maximum term of imprisonment is ten years or more.

Although the FSA of 2018 did not make Section 401 retroactive, it did make the
amendments applicable to pending cases. Subdivision (c) states as follows:

"(c) Applicablity to Pending Cases. - This section, and the amendments made to

this section, shall apply to any offense that was committed before the date of

enactment of this act, if a sentence for the offense has not been imposed as

of such date of enactment."

The Lack of retroactivity of Section 401 does not deprive this Court of

jurisdiction to consider and/or reduce Petitioner's sentence under the FSA.

 
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The FSA has already been used under the "extraordinary and compelling
circumstances" provision of 18 U.S.C. §3582, to Section 403 of the FSA, which also
has been determined not to apply retroactively.

Here, had the new provisions of Section 401 of the FSA of 2018 been in place
at the time of Petitioner's sentencing, then it would have been not just possible
or even probable, but obviously clear, that Petitioner would have received a
sentence below the 20 year mandatory minimum, for several reasons.

First, Petitioner's prior conviction does nor qualify as a "Serious Drug
Felony";

Second, the enhanced 20 year penalty would not apply and Petitioner would have
only been subjected to a 15 year mandatory minimum; and

Third, Hon. Walter, at sentencing, expressed his displeasure in imposing the
20-year mandatory minimum and had already imposed a much lower sentence, but was
bound by the 20-year mandatory minimum.

As such, this Court can find extraordinary and compelling reasons to reduce
Petitioner's sentence based on the following reasons:

First, if Petitioner were sentenced today, under Section 401 of the FSA,
Petitioner would have faced a significantly lower sentence, (at least 5 years and
as much as 10 years), and would not have been subjected to the 20 year mandatory
minimum;

Second, Petitioner has no legal procedural outlet to challenge the fact that
he is now serving a mandatory minimum sentence that is 5 years longer than
Congress deems appropriate;

Third, that the basis of the §851 enhancement does not now and never did
qualify as a "Serious Drug Offense’ If Petitioner were sentenced today, the
Government would be unable to rely on the §851 prior felony information because

Patitioner does not have a "Serious Drug Felony’’ Petitioner's mandatory minimum

 

 
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would only be 10 years.

Fourth, the sentence imposed is not only 3 years longer than what the Judge
initially found to be sufficient, but not greater than necessary to achieve the
goals of sentencing, as well as meeting the §3553(a) factors, but went against the
desire of the sentencing judge.

Fifth, the disparity between the national average sentence for marijuana
trafficking and Petitioner's sentence, as well as the fact that more and more
states have begun to decriminalize laws relating to marijuana.

Lastly, the global pandemic caused by the Corona Virus ("COVID-19") has caused
judges to reconsider their previous sentences imposed on a defendant and find that
extraordinary and compelling circumstances required reducing a sentence based on

the potential of contracting the potentially fatal COVID-19.

Legal Memorandum In Support

Federal Law provides that a court can reduce a term of imprisonment in certain
cases. This is found in Title 18 of the United States Code Section 3582(c)( 1),
commonly known as the "Compassionate Release" statute. Prior to December 2018, the
Court could only grant a compassionate release upon motion of the director of the
Bureau of. Prisons. This gave the Bureau of Prisons the sole decision over whether
to grant a release to an inmate.

In December 2018, President Trump signed the First Step Act into Law. ‘the
First Step Act gave inmates the right to petition the courts directly for
compassionate release. As a result, the compassionate release statute currently
reads:

(A) the court, upon motion of the Director of the Bureau of Prisons, or upon
motion of the defendant, has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant's behalf or

 
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the Lapse of 30 days from the receipt of such a request by the warden of the
defendant's facility, whichever is earlier, may reduce the term of imprisonment
(and may impose a term of probation or supervised release with oc without
conditions that does not exceed the unserved portion of the original term of
imprisonment after considering the factors set forth in Section 3553(a) to the
extent that they are applicable, if it finds that:

(i) extraordinary and compelling reasons warrant such a reduction; or

(ii) the defendant is at least 70 years of age, has served at least 30 years
in prison, pursuant to a sentence imposed under section 355%(c), for the offense
or offenses for which the defendant is currently imprisoned, and a determination
has been made by the Director of the Bureau of Prisons that the defendant is not a
danger to the safety of any other person or the community, as provided under
Section 3142(g);

and that such a reduction is consistent with applicable policy statements
issued by the Sentencing Commission;

Subsection (a)(1) reads that "(i) extraordinary and compelling reasons warrant
such a reduction; That subsection however, is not further defined or explained.
‘The applicable sentencing commission guideline, U.S.S.G. §1B1.13, has not been
updated to provide further guidance. |

The Second Circuit in United States v. Zullo, (19-3218-cr)(2nd Cir. September
25, 2020) has held that absent updated guidance from the Sentencing Commission,
the First Step Act freed district courts to consider any potentially extraordinary
and compelling reasons that a defendant might raise for compassionate release. The
Court also found that Zullo's rehabilitation, as well as the sentencing court's
statements about the injustice of his Lengthy sentence might perhaps weigh in
favor of a sentence reduction. The Court reasoned that Congress seemingly

contemplated that courts might consider such circumstances when is passed the

 
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original compassionate release statute in 1984.

It's been held that "the statute [18 U.S.C. §3582] does [not] define ~ or
place any limits on - what ‘extraordinary and compelling reasons’ might warrant
such a reduction." United States v. Vigneau, 2020 US Dist. Lexis 129768 (Dist.
R.I. July 21, 2020) (citing United States v. Cantu, 423 F. Supp. 3d 345, 352 (S.D.
TX, 2019) (quoting Crowe v. United States, 430 F. App'x 484, 485 (6th Cir. 2011).
(internal quotations in original).

Moreover, courts in other districts have determined that unusually long
sentences by today's standards could support an “extraordinary and compel Ling”
reasons to reduce a sentence. See, e.g., United States v. Zullo, (19-3218-cr)(2nd
Gir. Sept. 25, 2020); United States v. Urkevich, No. 8:03 CR 37, 2019 U.S. Dist.
Lexis, 197408, 2019 WL 6037391, at *2, 4 (D. Neb. Nov. 14, 2019); United States v.
Maumau, No. 2:08-CR-00758-T011, 2020 U.S. Dist. Lexis 28392, 2020 WL 806121 (D.
Utah Feb. 18, 2020); United States v. Cantu-Rivera, Cr. No. H-89-204, 2019 U.S.
Dist. Lexis 105271, 2019 WL 2578272, at *2 (S.D. TX, Jume 24, 2019); United States
v. Brown, 411 F. Supp. 3d 446. 452 (S.D. Iowa 2019), amended on reconsideration,
No. 4:05-CR-00227-1, 2020 U.S. Dist. Lexis 87133, 3020 WL 2091802 (S.D. Iowa, Apr.
29, 2020). For example, the Court in Brown strongly implied that changes to how
long sentences are calculated could be an extraordinary and compelling reason to
reduce a sentence. 411 F. Supp. 3d at 452. in Canta-Rivera, the Court also took
the length of the sentence into account when it provided relief:

[Tlhe Court recognizes as a factor in this combination the fundamental change
to sentencing policy carried out in the First Step Act's elimination of the
imprisonment as a mandatory sentence solely by reason of a defendant's prior
convictions.... the combination of all these factors establishes the extraordinary
and compelling reasons justifying the reduction in sentence in this case. 2019 US

Dist. Lexis 105271, 2019 WL 2578272, at *2. And the Court in Urkevich, modified a

 
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sentence based largely on the FSA's changes to 18 U.S.C. §924(c)(1)(C) sentencing.
In Maumau, the district court noted that the sentencing Laws applicable to the
defendant had changed after the defendant was sentenced, so that the defendant
would not have been subjected to the same harsh mandatory sentences if sentenced
under new provisions. The Court was focused on the defendant's age, the length of
the sentence imposed, and the changes in the Law. Concluding that it had the
authority to provide relief to the defendant under the compassionate relief
statute and that it should indeed provide relief, the Court ordered the pacties to
appear at a hearing te discuss what that relief should be. 2020 U.S. Dist. Lexis
28392, 2020 WL 806121, at *1, 5. .
In Urkevich, the district court, similarly faced with a change in the law,
reduced the defendant's sentence without ordering immediate release. United States
v. Urkevich, 2019 US Dist. Lexis 197408, 2019 WL 6037391, at *2 (D. Neb. Nov. 14,
9019) (reducing three "stacked" firearm counts From 660 months to 180 months
because the petitioner's former sentence was 40 years longer than the sentence he

would have likely received under the current law).

LE. COURT HAS AUTHORITY TO REDUCE SENTENCE

Several courts, as established above, have already held that the FSA of 2018
grants the Court the authority to reduce a sentence, based on Extraordinary and
Compelling circumstances, which include provisions of the FSA of 2018 that are not
retroactively applicable. United States v. Zullo, (19-3218-cr)(2nd Cir. Sept. 25,
2020); see also United States v. Urkevich, 2019 US Dist. Lexis 19/408, 2019 WL
6037391 (D. Neb. Nov. 14, 2019); United States v. Maumau, No. 2:08-CR-00758-TO11,
9020 US Dist. Lexis 28392, 2020 WL 806121 (D. Utah Feb 18, 2020).

LI. DOJ’S POLICY REGARDING PRIOR FELONY INFORMATIONS HAS BEEN UNSOUND AND

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BRUTALLY UNFAIR

Hon. John Gleeson, in United States v. Kupa, 9/6 F. Supp. 2d 417, 421 (EDNY
2013), stated It is a grave mistake to retain a policy or find it sound just
because a court finds it permissible or constitutional.

In Kupa, Judge Gleeson, stated that "the single most important factor that
influences the government's decision whether to file or threaten to file a prior
felony information (or to withdraw or promise to withdraw one that has previously
been filed) is illegitimate. When it enacted §851 in 1970, Congress had in mind
the world that DOJ asked it to create, in which federal prosecutors would
carefully cull from the Large number of defendants with prior drug felony
convictions the hardened, professional drug traffickers who should face recidivism
enhancements upon conviction. But instead, federal prosecutors exercise their
discretion by reference to a factor that passes in the night with culpability:
whether the defendant pleas guilty. To coerce guilty pleas, and sometimes to
coerce cooperation as well, prosecutors routinely threaten ultra-harsh, enhanced
mandatory sentences that no one - not even the prosecutors themselves - thinks are
appropriate." Id. at 419 (internal foot notes omitted).

Here, the Filing of the §851 prior felony information had the effect of
doubLing Petitioner's mandatory minimum of 10-years to 20-years incarceration. The
§851 filing also had the effect of replacing the 216 month sentence that Hon.
Walter initially felt was sufficient but not greater than necessary to achieve the
goals of sentencing. The §851 filing resulted in an increased 34 month sentence. A
sentence that Hon. Walter disagreed with.

Although, §851 prior felony information enhancements are legally permissible,
the fact is, as here, they are often misused.

As stated, the purpose of §851 was to target and enhance kingpins and

professional drug traffickers. As Hon. Gleeson found not all persistent offenders

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are professional drug traffickers.

Here, Petitioner's prior stems from low-level activity, the prior does not
meet the definition for "Serious Drug Offense."

On top of the harsh doubled mandatory minimum that was imposed, the actual
sentence does not meet the objectives of §3553(a).

Also, Petitioner has no other Legal remedy to challenge. the non-qualifying
predicate conviction used to support the §851 enhancement.

The §851 served to deprive the sentencing judge of any discretion in the
sentence imposed, in fact, in all actuality the sentence imposed was effectively
imposed by the prosecutor, since the judge had no discretion or Legal authority to
go below the sentences imposed.

Therefore, this Court can and should exercise its discretion to reduce
Petitioner's sentence because the actual sentences imposed are unduly harsh, does
not meet the objectives of §3553(a), were not issued via a judge's discretion and
also because they went against the desire of the judge.

Moreover, although Congress has not decriminalize the possession or sale of
marijuana on a federal Level, many states have. But even on a federal level, the
national average sentences of marijuana trafficking offenders in 2017 was twenty-
seven months. U.S. Sentencing Comm'n, 2017 Datafiles (Quick Facts) available at
https ://www.ussc.gov/sites/default/files/pdfresearch-and-publications/quick-
facts/marijuana_FY17.pdf. Eighty six percent of offenders received less than five
years' imprisonment. Id. Only 3.3% of all offenders received 120 months or more.
Id. The average sentence for marijuana trafficking in 2018 was twenty-nine months
(with a median sentence of eighteen months). U.S. Sentencing Comm'n, FY 2018
Overview of Federal Criminal Cases 15 (2019).

Here, Mc. Rodriguesz, received an unduly harsh sentence of 240 months. The

sentence imposed is 34 months above the 216 months the judge deemed appropriate

 
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after reviewing the 3553(a) factors. This 240 month sentence was the result of the ~
§851 prior felony information. it is not only approximately 3 years longer than

the sentence the judge deemed appropriate, but also approximately 17% years Longer

than the nation average in 2017; 15 years longer than the 86% of offenders who
received 5 years or Less and 10 years longer than the 3.3% who received 120 months
or more.

One district court, in assessing a motion for compassionate release, noted the
median Lengths of sentences imposed in 2019 for a selection of especially heinous
crimes - twenty years for murder, fifteen years for sexual abuse, and ten years
for kidnapping. United States v. Quimn, No. 91-CR~00608-DLJi-RS, 2020 US Dist.
Lexis 110247, 2020 WL 3275736, at *3 (N.D. Cal. June 17, 2020) (citing U.5.
Sentencing Comm'n, 2019 Amual Report and Sourcebook of Federal Sentencing
Statistics 64 (2020) available at https://ww.ussc.gove/research/sourcebook~
2019)).

If Mr. Rodriguez was sentenced today, he would not qualify for the §851 prior
felony information enhancement, and would not have received a mandatory minimum
sentence of 240 months (20-years). And even assuming arguendo that Petitioner did
have a prior that qualified as a “Serious Drug Felony: his mandatory minimum today
would be 5 years less than the 240 months imposed. The disparity between then and

now is a factor for finding extraordinary and compelling reasons to grant relief.

Lil. THE FSA OF 2018 AMENDED THE STATULORY CRITERIA FOR 21 U.S.C. §851

ENHANCEMENTS

The FSA of 2019, Section 401 reduced and restricted enhanced sentencing for

prior drug felonies.
As pertinent here, the FSA amended by reducing and restricting the statutory

penalties of 21 U.S.C. §841(b)(1)(A), which is enhanced under 21 U.S.C. §851, as

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follows:

21 U.S.C. §841(b)(1)(A)

Statutory Penalty: 10-year mandatory Minimum

Enhanced Penalty BEFORE FIRST STEP ACT: 20-year mandatory minimum (after one
prior conviction for a felony drug offense).

Enhanced penalty AFTER FIRST STEP ACT: 15~year mandatory minimum (after one
prior conviction for a serious drug or serious violent felony).

Under the FSA a prior conviction for a felony drug offense no longer qualifies
for the enhanced penalties of §§ 851 or 841(b)(1)(A).

The FSA removed "prior conviction for a felony drug offense" and replaced it
with the more serious and stringent "serious drug felony" offense(s)-

A "Serious Drug Felony" is defined as follows:

An offense prohibited by 18 U.S.C. 924(e)(2)(A) for which the defendant served
a term of imprisonment of more than 12 months and was released from any term of
imprisonment within 15 years of the instant offense. Section 924(e)(2)(A) defines
“Serious Drug Felony" as an offense under the Controlled Substances Act (21 U.S.C.
801 et seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
seq.), Chapter 705 of Title 46 (Maritime Law Enforcement) or under state Law,
involving manufacturing, distributing, or possessing with intent to distribute, a
controlled substance (as defined in Section 102 of the Controlled Substances Act
(21 U.S.C. 802)), for which a maximum term of imprisonment is ten years or more.

Here, Petitioner's prior drug conviction does not meet the statutory
definition of “Serious Drug Felony“ Petitioner does not have a prior drug
conviction which required a maximum term of imprisonment of 10-years or more.
Therefore, had the FSA of 2018 been in effect at the time of Petitioner's
sentencing, Petitioner would have been found to be ineligible for the §851

enhancement penalties, and he would have been found to face significantly lower

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sentencing provisions.

Petitioner is currently serving a 20 year imprisonment term, which is double
the amount Congress now deems warranted for Petitioner's offense. Had Petitioner
been sentenced today and received the benefit of the FSA, Petitioner would have
not been subjected to the mandatory minimum imposed and his sentencing
calculations would have begun at half the amount of time deemed applicable at his
sentencing. |

Thus, Petitioner should be seriously considered for a reduction in sentence,
esp., as will be set forth below, that "none!" of Petitioner’s priors qualify for
the enhancement, he no Longer has a legal remedy to challenge the non-qualifying
prior under §851, and most importantly, the judge at sentencing expressed his
displeasure with imposing the mandatory minimum sentenced imposed and stated on

record that he had no discretion to impose a Lower sentence.

IV. THE PRIOR USED NO LONGER QUALIFIES AS A VALID BASIS FOR A §851

ENHANCEMENT

Petitioner submits that the prior used to enhance him in the §851 prior
felony information was a conviction of Attempted Criminal Sale of a Controlled
Substance in the Third Degree, in violation of New York Penal Law sections 110.00,
220.39, for which he received a sentence of one to three years' imprisonemnt -

Petitioner further submits that the prior used does not meet the FSA of 2018
requirement that s "Serious Drug Felony" be used for the enhancement .

To qualify as a "Serious Drug Felony" the prior must have a maximum term of
imprisonment of 10 years or more.

Here, Petitioner was given a maximum term of 3 years, and Petitioner never

faced a maximum term of 10 years or more.

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V. THE ENHANCED PENALTIES SHOULD NOT BE ALLOWED TO STAND
As states above, the enhanced penalties of S§ 851 and 841(b)(1)(A) should not

be allowed to stand because of the injustice it serves in the present case. The
enhanced penalties also should not be allowed to stand because: (A) Absent the
enhancement, Petitioner would have only been subjected to a 10-year mandatory
minimum; (b) the starting point in Petitioner's sentencing analysis began with an
incorrect range and not only anchored the Court's discretion, but removed any
discretion in the sentence imposed, thus having an effect on Petitioner's
substantial rights; (c) the mandatory sentence imposed is 3 years greater than
when the judge initially imposed; (d) Petitioner can show not just the probability
of a different outcome without the $851 enhancement, but the sentence imposed was
against the judge's desire; (e) there is a huge disparity in Petitioner's sentence
than with other's similarly situated on a nation Level; (£) if sentenced today,
Petitioner would face and receive a significantly lower sentence; (g) Petitioner

has no other legal outlet to challenge the §851 enhancement.

VI. A SENTENCE REDUCTION WOULD BE CONSISTENT WITH THE §3582 STATUTORY
DIRECTIVES AND THE SENTENCING COMMISSION'S POLICY STATEMENTS

The Sentencing Commission has promulgated a policy statement regarding
Compassionate Release, contained in U.S.S.G. $1B1.13, that provides guidance on
the “extraordinary and compelling reasons" warranting a sentence reduction. United
States v. Wone chi Fai, 2019 US Dist. Lexis 126774 (EDNY July 30, 2019).

Accordingly, pursuant to the statutory directive in 18 U.S.C. §3582(c)(1)(A)
and in conjunction with the Sentencing Commission guidance provided in U.S.5.G.
§1B1.13, the Court must consider three issues in evaluating (Mr. Rodriguez's]
compassionate release application: (i) Whether extraordinary and compelling

reasons: warrant a sentence reduction consistent with the Sentencing Commission's

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policy statement, (ii) whether Mr. Rodriquez is "a danger to the safety of any
other person or to the community) and (iii) whether the Section 3553(a) factos "to
the extent they are applicable} weigh in favor of a sentence reduction. Id.

Here, Petitioner submitted a Request for Compassionate Release to Warden
David Ortiz of FCI Fort Dix, stating that based on the injustice and undue
harshness of his sentence, as well as the potential of contracting the potentially
fatal Corona-virus (COVID-19) that he meets the Extraordinary and Compelling
Circumstances of compassionate release.

On September 8, 2020, Warden Ortiz responded that the B.O.P. Program
Statement No. 5050.50 "provides guidance on the types of circumstances that
present extraordinary and compelling reasons’.

The narrow circumstances does not cover the reasons that Petitioner provided,
and categorically bars Petitioner from any compassionate release, even though
numerous courts have already found that the reasons Petitioner provided meet the
extraordinary and compelling circumstances. necessary for compassionate release.

In United States v. Ebbers, 2020 US Dist. Lexis 3746 (SDNY Jan. 8, 2020), the
Court stated "because no statute directs the Court to consult the B.0.P.'s rules
or guidelines, see 28 C.F.R. pt. 3/71, subpt. G, and no statute delegates authority
to the B.O.P. to define the statutory requirements for compassionate release, the
Court find the B.O.P.'s guidelines to be inapposite. " Accord United States v.
Cantu, 2019 US Dist. Lexis 100923, 2019 WL 2498923, at *4 (S.D. TX, June 17, 2019)
(holding that the B.O.P. does not determine the meaning of "extraordinary or
compelling reasons"). indeed, the B.O.P."s rules contlict with the U.S.S.C.’s. The
B.O.P. Limits "extraordinary or compelling circumstances" to those "which could
not reasonably have been foreseen by the court at the time of sentencing, 23
C.F.R. §571,60, but the U.S.S.C. has stated the opposite, see Application Note 2,

U.S.S.G. §1B1.13. Moreover, the First Step Act reduced the B.O.P.'s control over

 

 
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compassionate release and vested greater discretion with courts. Deterring to the

B.0.P. would seem to frustrate that purpose. See United States v. Beck, 2019 US

 

Dist. Lexis 108542, 2019 WL 2716505, at *12 (M.D. NC June 28, 2019) ("LT jhe terms
of the First Step Act give courts independent authority to grant motions for
compassionate release and says nothing about defiarence to B.O.P., thus
establishing that Congress wants courts to take a de novo Look at compassionate
release motions.").

As stated, in the previous sections, extraordinary and compelling reasons
-waccant a sentence reduction and such a reduction would be consistent with the
Sentencing Commissions policy statement.

Also, Petitioner does not pose any danger to the safety of any other person
or to the community.

Lastly, a reduction in sentence would be consistent with the Section 3553(a)
factors. See §3553(a)(2)(A)(''the need for the sentence imposed... to reflect the
seriousness of the offense, to promote respect for the Law, and to provide just
punishment for the offense"); $3553(a)(b)("the need to avoid unwarranted
sentencing disparities among defendants with similar records who have been found
guilty of similar conduct").

A sentence reduction would allow the court to tailor the sentence to meet the
3553(a) factors and provide a sentence that is sufficient but not greater than
necessary to meet the goals of sentencing and §3553(a).

Additionally, the sentence imposed deprived the judge of considering and/or
weighing any 3553(a) factors because it is a mandatory minimum punishment that the
Court expressed was clearly greater than necessary.

A sentence reduction would allow this Court to correct the injustice of the

harsh enhanced penalty that was imposed.

 

 
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Vil. LIFE THREATENING CORONA VIRUS (COVID-19)
The potentially Life threatening Corona-Virus (COVID-19) should be considered

as an additional §3553(a) factor, in favor of releasing and/or reducing
Petitioner's sentence.

The Corona-Virus pandemic has been uncontrollable, at Petitioner's facility,
FCL Fort Dix. Currently Fort Dix has the most active (positive) COVID-19 cases in
the nation (B.0.P.). At the outset of the pandemic, inmates were warned by the
Warden of FCI Fort Dix that social distance is NOT possible. in addition to social
distancing not being possible and even with B.O.P. officials and Fort Dix inmates
best efforts to prevent and/or contain the COVID-19 pandemic, the COVID pandemic
has taken a new concern at FCI Fort Dix. This facility has been unable to prevent
or control the spread of COVID-19.

When this facility first went on Lockdown status and was basically
quarantined from the public, there was zero reported cases for COVID-19. In spite
of the B.0.P.'s efforts, this facility began to report positive active cases,
which ultimately affected in excess of 50 inmates and numerous staff members.
After reporting that no more COVID-19 cases existed at Fort Dix, the facility was
again hit with at least 1 staff member testing positive. Once against this
facility had reported zero positive COVID-19 cases. Recently, several hundred
inmates were deliberately transferred from Elkton FGI (one of the most infected
facilities, with approximately 10 inmate deaths from COVID-19) to FCI Fort Dix.
This facility now has in excess of 250 positive inmates (it is rumored and
Petitioner's belief that it is more Like 400 inmates) and 18 staff members, all
within 2-3 weeks of transferring the inmates to Fort Dix. The numbers are
increasing rapidly. Staf£ is working double shifts with many working in affected
units, then going straight to an uninfected unit to work without being tested

between shifts). This facility has reported as many as 54 positive inmates in just.

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one unit, and those numbers do not reflect that most inmates at Fort Dix are not
being tested.

Should a sentence reduction be granted, Petitioner can provide the Court and
the B.O.P. with a safety and release plan.

Petitioner will self quarantine to prevent exposing or being excosed to

COVID-19.

CONCLUSION.
For all the reasons stated above, Petitioner should be given a setence
reduction. And for such other and further relief as this Court deems just and

proper.

Respectfully Submitted,

Deke k é i, ee i

Mr. Oscar Rodriguez
Reg. No. 42047~-054

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